     ILENE J. LASHINSKY (#3073)
1
     United States Trustee
2    District of Arizona
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8
9                      IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF ARIZONA
10
11   In re:                                  )   Chapter 7
                                             )
12   TROY D. STAFFORD and                    )   Case No. 2:22-bk-00609-EPB
13   XOCHITL B. STAFFORD,                    )
                                             )   UNITED STATES TRUSTEE’S MOTION
14                  Debtors.                 )   FOR EXTENSION OF TIME FOR FILING
                                             )   SECTION 727 OBJECTION TO
15
                                             )   DISCHARGE
16                                           )
                                             )
17
18            The United States Trustee (“UST”), by and through the undersigned counsel,

19   files this Motion for Extension of Time for Filing Section 727 Objection to Discharge
20
     and respectfully shows the following:
21
                       MEMORANDUM OF POINTS AND AUTHORITIES
22
23            Debtors, Troy D. Stafford and Xochitl B. Stafford (“Debtors”), initially filed
24
     their voluntary Chapter 11 Subchapter V bankruptcy petition, on January 31, 2022.
25
     The case was then converted to a chapter 7 proceeding at the request of the Debtors
26
27   on March 14, 2022. Due to various circumstances surrounding the appearances of

28   the Staffords at the regularly scheduled §341 meeting of creditors, the Debtors



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     stipulated to the extension of the deadlines, pursuant to Fed. R. Bankr. P. 4004(a),
1
2    and by Fed. R. Bankr. P. 4007(c) for filing complaints under 11 U.S.C. §§ 523 and
3    727 to July 25, 2022. D.E. 103. This request to extend that deadline is being filed
4
     before the expiration of the current deadline.
5
6          The UST is in the process of investigating the pre-petition conduct of the

7    Debtors and the veracity of the Debtors’ schedules and related statements filed with
8
     this Court. D.E. Nos. 41, 89, 90, 95, 96 and 97. The UST is currently in the process
9
     of determining whether to pursue a Rule 2004 Motion to seek additional documents
10
11   and testimony of the Debtors, including Xochitl Stafford who was excused from

12   providing testimony due to her medical condition at the time of the §341 meeting.
13
           Accordingly, the UST requests that the Court grant the UST a sixty-day
14
     extension of time to file a complaint under § 727. Fed. R. Bankr. 4004(a) authorizes
15
16   the Court to extend the time for filing objections to discharge under § 727 if cause

17   for such extension is shown.      The Debtors have an extensive and complicated
18
     business history, which has resulted in a myriad of charges of wrongdoing by
19
20   creditors resulting in numerous default judgments against them. The UST requires

21   more time to review and examine the complex business dealings of the Debtors and
22
     their assets. The Debtors will not be prejudiced by this extension, as the case is still
23
     in the early stages of the bankruptcy administration.
24
25         The UST anticipates that she will need at least sixty days to complete her

26   investigation of this case, which may include examining and obtaining documents
27
28




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     from the Debtors. Accordingly, the UST requests that the UST's deadline for filing
1
2    a § 727 objection to discharge be extended to and including September 25, 2022.
3          WHEREFORE the UST respectfully requests that this Court grant this
4
     motion and grant any other relief the Court deems just and appropriate.
5
6          RESPECTFULLY SUBMITTED this 22nd day of July, 2022.

7
                                                 ILENE J. LASHINSKY
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                                                 United States Trustee
9                                                District of Arizona
10                                               /s/ LLW (CA # 193531)
11                                               __________________________________
                                                 LARRY L. WATSON
12                                               Trial Attorney
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1                              CERTIFICATE OF SERVICE
2
           This is to certify that on July 22, 2022, a copy of the foregoing pleading was
3    served on the Debtor’s counsel by electronically mailing at the email address listed
     below via the Court’s ECF system and on the Debtors at their address below:
4
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                 Chandler, AZ 85286
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                 TROY D. STAFFORD
11               XOCHITL B. STAFFORD
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13
14   /s/ Larry L. Watson
     __________________________________
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